
This is an appeal from a decision of a referee entered the 16th day of May, 1945, awarding claimant compensation for 20% loss of use of the right leg, and affirmed by the Workmen’s Compensation Board. The board found that the injuries to claimant’s right knee was sustained accidentally and arose out of and in the course of her employment. The board further found that the claimant’s diabetic condition was not causally related, directly or indirectly, to the accident which occurred on November 17,1939. The evidence sustains the finding of the board. Award affirmed, with costs to the Workmen’s Compensation Board. Hill, P. J., Heffernan, Foster and Russell, JJ., concur; Brewster, J., taking no part. [See post, p. 1096.]
